      Case 2:13-cr-00014-RMP        ECF No. 203    filed 10/08/13   PageID.1152 Page 1 of 1




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 2
 3                            UNITED STATES DISTRICT COURT
 4                          FOR THE DISTRICT OF WASHINGTON
 5
 6 UNITED STATES OF AMERICA                         No. CR-13-014-RMP-2

 7                         Plaintiff,               ORDER GRANTING UNOPPOSED
 8                                                  MOTION TO MODIFY
     vs.
 9
10 KARIS DELONG, a/k/a Karis Copper,
11                         Defendant.
12
13             Before the Court is Defendant, Karis DeLong’s Unopposed Motion to
14   Modify Conditions of Release. ECF No. 201. Good cause appearing therefor;
15             IT IS ORDERED that the Motion to Modify Conditions of Release, ECF
16   No. 201, is GRANTED. The requirement that states that the Defendant shall
17   remain in the Eastern District of Washington is modified for the purpose of
18   training and/or employment related travel.
19             Defendant is authorized to travel outside the Eastern District of Washington,
20   to include Washington, Oregon and Idaho, with prior approval of the U.S.
21   Probation Office, at their discretion, for purposes of employment and training
22   activities.
23             All other terms and conditions of her release will remain in full force and
24   effect.
25             DATED October 8, 2013.
26
27                                      _____________________________________
                                                  JOHN T. RODGERS
28                                       UNITED STATES MAGISTRATE JUDGE

     ORDER GRANTING UNOPPOSED MOTION TO MODIFY - 1
